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                                            May 7, 2024

VIA ECF & EMAIL
Honorable Analisa Torres
U.S. District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 2210
New York, New York 10007-1312

       Re:     Doe v. Portnow, et al., 24 Civ. 345 (AT)
Dear Judge Torres:

        We are attorneys for Defendant Neil Portnow in the above-referenced action and, as set
forth in the letter filed today by Defendant National Academy of Recording Arts & Sciences,
Inc. (Dkt. #40), write to respectfully ask this Court to allow us time to further review Plaintiff’s
Request for Voluntary Dismissal Without Prejudice (Dkt. #37). Specifically, we request that the
Court allow us until Tuesday, May 14, 2024, to provide Mr. Portnow’s position with respect to
Plaintiff’s request and that the Court take no action regarding that application prior to that date.

        Furthermore, we respectfully request that the Court stay the pending deadlines in the
interim, specifically, Mr. Portnow’s May 9, 2024 deadline to answer the Amended Complaint
and the parties’ May 13, 2024 deadline to file a joint letter, proposed case management plan, and
indication of whether they consent to proceed before a magistrate judge.

       Thank you for Your Honor’s consideration in this matter.

                                                      Respectfully yours,

                                                      Edward M. Spiro

                                                      Edward M. Spiro
                                                      Catherine M. Foti
                                                      Abbe R. Ben-David

cc: All counsel (by ECF)
